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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                      I cASE NUMBEx
                                                      PLAnvT~FF I                             19-MJ-3937

EDWARD BUCK

                                                   DEFENDANT. I           ABSTRACT OF COURT PROCEEDING
TO:     UNITED STATES MARSHAL AND/OR WARDEN,METROPOLITAN DETENTION CENTER:

         You are hereby notified that the Honorable
❑ United States District Judge f~ United States Magistrate Judge, has this date f~ ordered     ❑recommended that the above-named
federal prisoner be:

         ❑ Allowed to make ❑           social ❑        legal telephone calls) at prisoner's own expense;
                ❑ forthwith                          ❑ as soon as possible               ❑ as requested, at suitable times

         ❑ Allowed social visits            ❑Dressed in civilian clothing for court appearances
         ❑ Housed or designated to ❑ MDCLA ❑Other
        ~ Provided with a medical examination and/or medical treatment for
        A report regarding this examination/treatment is to be submitted to the court on or before

        ❑ Provided with apsychiatric/psychological examination. A report regarding this examination/treatment is to be submitted to
        the court on or before

         ❑ Provided with dental treatment. A report regarding this examination/treatment is to be submitted to the court on or


         ❑ Other


                                                                                         CLERK U.S. DISTRICT COURT

Dated: September 26, 2019                                                       By: ~s/Isabel Martinez
                                                                                                Deputy Clerk

                                                 RETURN TO CLERK'S OFFICE
         ❑ Western Division-Los Angeles             ❑Southern Division-Santa Ana                     ❑Eastern Division-Riverside

This abstract was received on

❑ The aforementioned orders) were or will be complied with on:

❑ The aforementioned orders) were not complied with for the following reasons:




                   Name (Print)                                        Title                                 Signature

cc: 6~ MDC,~ Cell block

CR-53 (12/03)                                      ABSTRACT OF COURT PROCEEDING
